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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

ABDUL JABBAR MACK,                   )
                                     )
           Petitioner,               )
                                     )
     v.                              )       CV 115-129
                                     )       (Formerly CR 111-270)
UNITED STATES OF AMERICA,            )
                                     )
           Respondent.               )
        _________________________________________________________

            MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
            _________________________________________________________

       Petitioner, an inmate at the Federal Medical Center in Butner, North Carolina, has

filed a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct his sentence. The Court

REPORTS and RECOMMENDS the § 2255 motion be DENIED without an evidentiary

hearing, this civil action be CLOSED, and a final judgment be ENTERED in favor of

Respondent.

I.     BACKGROUND

       A.     Indictment

       On October 10, 2012, a grand jury returned a second superseding indictment,

charging Petitioner and his codefendants with conspiracy to distribute and possess with intent

to distribute controlled substances, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and

846 (Count One), possession with intent to distribute controlled substances, in violation of 21

U.S.C. § 841(a)(1) and 18 U.S.C. § 2 (Count Two), and conspiracy to commit money

laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(B)(i), 1956(h), and 2 (Count Three).
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United States v. Mack, CR 111-270, doc. no. 186 (S.D. Ga. Jul. 11, 2012) (“CR 111-270”).

The Court appointed attorney Brendan N. Fleming to represent Petitioner. (Id., doc. no.

150.)

         B.     Agreement to Plead Guilty

         On February 25, 2013, Petitioner pleaded guilty to Counts I and III for drug

conspiracy and money laundering. (Id., doc. nos. 251, 252.) The plea agreement contained a

factual basis for the plea which stated in relevant part:

         [B]eginning on or about January 1, 2006 . . . the defendant . . . did knowingly
         and intentionally combine, conspire, confederate, and agree together with
         other persons . . . to distribute and possess with intent to distribute 5 kilograms
         or more of cocaine hydrochloride, a Schedule II controlled substance, in
         violation of Title 21, United States Code, Sections 841 (a)(1), 841(b)(1)(A), all
         done in violation of Title 21, United States Code, Section 846. . . . [B]eginning
         . . . at least as early as January 1, 2006 . . . the defendant . . . would knowingly
         conduct and attempt to conduct financial transactions affecting interstate
         commerce, which transactions involved the proceeds of . . . conspiracy to
         possess with intent to distribute and to distribute controlled substances and
         possession with intent to distribute controlled substances, knowing that the
         transactions were designed in whole or in part to conceal and disguise the
         nature, location, source, ownership, and control of the proceeds of specified
         unlawful activity [and] knowing that the property involved in the financial
         transactions represented the proceeds of some form of unlawful activity, in
         violation of Title 18, United States Code, Section 1956(a)(1)(B)(I), all done in
         violation of Title 18, United States Code, Sections 1956(h) and 2. . . . (Id., doc.
         no. 252, pp. 5-7.)

As to the amount of cocaine used to calculate the sentencing guideline range, the

parties stipulated “based on the evidence available to the government at this time, the

quantity of controlled substances to be attributed to the defendant under this plea

agreement is at least 15 kilograms of cocaine hydrochloride but less than 59

kilograms of cocaine hydrochloride.” (Id. at 6.)

         The plea agreement also contained an appeal and collateral attack waiver, as


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follows:

        To the maximum extent permitted by federal law, the defendant voluntarily
        and expressly waives the right to appeal the conviction and sentence and the
        right to collaterally attack the conviction and sentence in any post-conviction
        proceeding, including a § 2255 proceeding, on any ground, except that: the
        defendant may file a direct appeal of his sentence if it exceeds the statutory
        maximum; and the defendant may file a direct appeal of his sentence if by
        variance or upward departure, the sentence is higher than the advisory
        sentencing guideline range as found by the sentencing court.

(Id. at 5.)

        Petitioner attested he read the plea agreement, understood what it said and meant, and

it accurately set forth the terms and conditions of the agreement as negotiated by his attorney

on his behalf and with his permission. (Id. at 13.)

        C.     Change of Plea Hearing

        During the change of plea hearing, the Honorable J. Randal Hall established

Petitioner’s competence to enter a guilty plea if he desired. (Id., doc. no. 302, p. 34.)

Petitioner also testified under oath he had adequate time to discuss his case with his attorney

and was entirely satisfied with the services rendered by Mr. Fleming. (Id. at 7, 9.) Judge

Hall read each count of the indictment and asked if Petitioner understood the charges. (Id. at

4-6.) Petitioner confirmed he understood. (Id. at 7.) Judge Hall also explained the rights

Petitioner would be waiving by pleading guilty, and Petitioner affirmed he clearly

understood those rights. (Id. at 9-12.)

        Among the rights explained, Judge Hall reviewed the right to trial by jury, the

presumption of innocence, the government’s burden to prove guilt beyond a reasonable

doubt, the right to present and cross-examine witnesses, and the right to remain silent. (Id.)

Petitioner affirmed no one had forced, threatened, or pressured him to plead guilty, (id. at 3)


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nor had anyone guaranteed, predicted, or prophesied Petitioner would receive a specific

sentence. (Id. at 18.)

       In addition, Judge Hall reviewed the waiver provision in Petitioner’s plea agreement,

informing Petitioner he was “waiv[ing] or giv[ing] up [his] rights to appeal [his] sentence

and conviction directly and indirectly in a post-conviction proceeding on any ground.” (Id.

at 13.) However, Judge Hall explained Petitioner could appeal if Petitioner was sentenced

above the guideline range, above the statutory range, or if the government appealed. (Id.)

Petitioner confirmed he understood. (Id.) Judge Hall also asked Petitioner if he discussed

his plea agreement with counsel and if he signed the plea agreement, cautioning Petitioner if

he did, he would be bound by all the terms of the agreement. (Id. at 11.) Petitioner affirmed

he discussed the plea agreement with counsel, signed the plea agreement, and understood he

would be bound by all the terms within the plea agreement. (Id. at 12.)

       Judge Hall heard the factual basis for Petitioner’s guilty plea from Special Agent

Jamie Lukich with the Drug Enforcement Administration (DEA). (Id. at 20.) SA Lukich

testified that, on January 26, 2011, Cleveland Hall was stopped by the Warren County,

Georgia police and found to possess fourteen kilograms of cocaine. (Id. at 20, 26-27.) Law

enforcement officials later determined Glenn Cook, a known drug trafficker in Atlanta,

Georgia, was the source of the cocaine. (Id.) After his indictment in the Northern District of

Georgia, Cook began cooperating with law enforcement and identified Petitioner and his co-

defendant LaTron Ware as the recipients of the cocaine seized from Hall’s car. (Id.) Cook

further stated he had been supplying Petitioner and Ware with cocaine prior to that date and

Hall was their carrier. (Id.)



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        A financial investigation showed Petitioner claimed a total of $33,428 on his income

tax returns from 2007 through 2011, yet made deposits and cash expenditures in the amount

of $231,362 over this same period. (Id. at 27.) SA Lukich concluded this excess income

came from selling drugs. (Id.) Furthermore, SA Lukich discussed a 2007 Dodge Charger

driven by Petitioner that was registered to Ware and purchased with alleged $8,500 per

month in income from Made Entertainment, a joint business venture between Petitioner and

Ware. (Id. at 30.) However, Made Entertainment showed no income on its tax returns for

2006, 2007, and 2008. (Id.) Judge Hall accepted the guilty plea, finding a sound factual

basis for it. (Id. at 34.)

        D.      Presentence Investigation Report (PSI)

        The United States Probation Office prepared a PSI, which set Petitioner’s base

offense level for Count One at thirty-four, pursuant to U.S.S.G. § 2D1.1, and Petitioner’s

base offense level for Count Three at forty, pursuant to U.S.S.G. § 2S1.1. (PSI ¶¶ 46, 52.)

Petitioner’s offense level for Count One increased to forty after enhancements for: (1)

organizer or leader of a criminal activity that involved five or more participants, and (2)

pattern of criminal conduct engaged in as a livelihood. (PSI ¶¶ 47, 49.) Petitioner’s offense

level for Count increased to forty-two after an enhancement for his concurrent conviction

under 18 U.S.C. § 1956. (PSI ¶ 53.) Because the adjusted offense level from Count Three

resulted in the higher offense level, Petitioner’s combined adjusted offense level was forty-

two. (Id. ¶ 59.) This offense level decreased three points for acceptance of responsibility

resulting in a total offense level of thirty-nine. (PSI ¶¶ 60-62.) Based on a total offense level

of thirty-nine and a criminal history category of I, Petitioner’s guideline imprisonment range

was between 262 and 327 months. (PSI ¶ 89.)
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       E.      Sentencing

       Sentencing was held on August 7, 2013. (CR 111-270, doc. no. 299.) Through his

counsel, Petitioner filed two objections to the PSI: (1) the enhancement pursuant to U.S.S.G.

§ 2D1.1(b)(14)(E), criminal livelihood, constituted double counting as the conduct was the

result of Petitioner pleading guilty to Count Three, and (2) the four-level enhancement

pursuant to U.S.S.G. § 3B1.1(2) was improper because Petitioner’s role in the conspiracy

was not extensive. PSI Addendum ¶¶ 1-2. At sentencing, Mr. Fleming argued Petitioner’s

double counting objection to the Court at length; however, after hearing the Court’s and

Assistant United States Attorney (“AUSA”) Patricia Rhodes’s responses and consulting with

Petitioner, he withdrew that objection. (CR 111-270, doc. no. 299, pp. 4-11.) The parties

then turned to Petitioner’s second objection, with SA Lukich and Petitioner both testifying

regarding Petitioner’s role in the conspiracy. (Id. at 11, 15-42.) After hearing arguments

from Mr. Fleming and AUSA Rhodes, Judge Hall overruled the objection, adopted the PSI

statements as the Court’s findings of fact, and determined the applicable guidelines range

was 262 to 327 months. (Id. at 42-50.) Judge Hall then heard statements in mitigation from

Petitioner and his attorney. (Id. at 50-52.)

       After considering the statements in mitigation, Judge Hall outlined aggravating

factors. Judge Hall noted Petitioner was a major distributor of cocaine in both the Augusta,

Georgia, and Charleston, South Carolina, area.       (Id. at 53.)   Judge Hall further noted

Petitioner was a leader in the distribution operation, using more than one courier to transport

quantities of cocaine likely exceeding 400 kilograms in vehicles outfitted with hidden

compartments or traps. (Id.) Finally, Judge Hall noted Petitioner’s lack of concern for the

communities into which his drugs were distributed. (Id. at 54.) Judge Hall dismissed Count
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Two and sentenced Petitioner to 262 months of incarceration, the bottom of Petitioner’s

guideline range, five years of supervised release, a $200.00 special assessment, and a $3,000

fine. (Id., doc. no. 281.)

         F.     Subsequent Proceedings

         Petitioner appealed his sentence to the Eleventh Circuit Court of Appeals. (Id., doc.

no. 286.). On August 15, 2014, after considering Mr. Fleming’s Anders brief and conducting

an independent review of the entire record, the Eleventh Circuit granted Mr. Fleming’s

motion to withdraw and affirmed Petitioner’s sentence and conviction because the record

revealed no arguable issues of merit. United States v. Mack, 575 F. App’x 869 (11th Cir.

2014).

         In July and August 2015, Petitioner filed two motions to reduce his sentence on the

basis of Amendment 782 to the United States Sentencing Guidelines, which retroactively

revised the guidelines applicable to drug trafficking offenses. CR 111-270, doc. nos. 332,

334. Judge Hall granted Petitioner’s motions on September 9, 2015, and reduced Petitioner’s

sentence to 210 months. (Id., doc. 339.)

         On August 17, 2015, Petitioner timely filed this 28 U.S.C. § 2255 motion. (Doc. no.

1.) Petitioner alleges four grounds of relief: (1) trial counsel was ineffective for advising him

to plead guilty to, and failing to object to, the conspiracy charge’s lack of a “specific object,”

(2) trial counsel was ineffective for failing to identify a “specific object” for the money

laundering conspiracy at sentencing, (3) trial counsel was ineffective for failing to object to

“double counting” which resulted in a two-level enhancement in his sentence calculation,

and (4) appellate counsel was ineffective for not raising the first three grounds on appeal.

(Id. at 3-4, 6-7.) Respondent asserts Petitioner’s claim is barred by the collateral attack
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waiver, Petitioner entered a knowing and voluntary guilty plea, and Petitioner’s claims are

otherwise meritless. (Doc. no. 5.)

II.    DISCUSSION

       A.     There is No Need for an Evidentiary Hearing.

       Section 2255 does not require that the Court hold an evidentiary hearing if “the

motion and the files and records of the case conclusively show that the prisoner is entitled to

no relief. . . .” Winthrop-Redin v. United States, 767 F.3d 1210, 1216 (11th Cir. 2014)

(quoting 28 U.S.C. § 2255(b)). “A hearing is not required on patently frivolous claims or

those which are based upon unsupported generalizations. Nor is a hearing required where

the petitioner’s allegations are affirmatively contradicted in the record.” Holmes v. United

States, 876 F.2d 1545, 1553 (11th Cir. 1989) (citation omitted). Moreover, a petitioner is not

entitled to an evidentiary hearing where he asserts “merely conclusory allegations

unsupported by specifics or contentions that in the face of the record are wholly incredible.”

Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991) (citation omitted); see also Lynn v.

United States, 365 F.3d 1225, 1238-39 (11th Cir. 2004).

       While ineffective assistance of counsel claims often require a hearing for

development of an adequate record, an evidentiary hearing is not required every time such a

claim is raised. Rosin v. United States, 786 F.3d 873, 878-79 (11th Cir. 2015); Vick v.

United States, 730 F.2d 707, 708 (11th Cir. 1984). Because Petitioner’s claims are barred

from review, lack merit as a matter of law, or are otherwise affirmatively contradicted by the

record, no evidentiary hearing is necessary.




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       B.     Petitioner’s Valid Collateral Attack Waiver Bars Grounds Two and
              Three.

       Grounds Two and Three of Petitioner’s § 2255 motion are precluded by the waiver

provision in the plea agreement, in which Petitioner waived his right to collaterally attack his

conviction and sentence. It is well settled a waiver of the right to collaterally attack a

sentence and conviction is only enforceable if the waiver is knowing and voluntary. United

States v. Warner-Freeman, 270 F. App’x 754, 757 (11th Cir. 2008); see also United States v.

Weaver, 275 F.3d 1320, 1333 (11th Cir. 2001); United States v. Bushert, 997 F.2d 1343,

1345 (11th Cir. 1993); see also Vaca-Ortiz v. United States, 320 F. Supp. 2d 1362, 1365-67

(N.D. Ga. 2004) (applying case law concerning waiver of direct appeal to waiver of right to

collateral proceedings).

       “To establish the waiver’s validity, the government must show either that (1) the

district court specifically questioned the defendant about the provision during the plea

colloquy, or (2) it is manifestly clear from the record that the defendant fully understood the

significance of the waiver.” Weaver, 275 F.3d at 1333. If the government meets this burden,

then an appeal and collateral attack waiver is enforceable. See United States v. Pease, 240

F.3d 938, 942 (11th Cir. 2001) (enforcing waiver provision where defendant was specifically

questioned during plea proceedings about waiver); United States v. Howle, 166 F.3d 1166,

1168-69 (11th Cir. 1999); United States v. Benitez-Zapata, 131 F.3d 1444, 1146-47 (11th

Cir. 1997).

       Here, Respondent has demonstrated the existence of a valid collateral attack waiver.

The plea agreement signed and verified by Petitioner fully set forth that, as a condition of his

guilty plea, he was waiving any right to collateral attack of his sentence and conviction or the


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knowing and voluntary nature of his guilty plea. (See CR 111-270, doc. no. 252, p. 5 (“the

defendant voluntarily and expressly waives . . . the right to collaterally attack the conviction

and sentence in any post-conviction proceeding, including a § 2255 proceeding, on any

ground . . . .”).) Furthermore, Judge Hall reviewed Petitioner’s plea agreement during the

plea colloquy, and specifically referenced the waiver provision. (Id., doc. no. 302, p. 12-14.)

Judge Hall explained as a result of the waiver provision, Petitioner was ““waiv[ing] or

giv[ing] up [his] rights to appeal [his] sentence and conviction directly and indirectly in a

post-conviction proceeding on any ground.”         (Id. at 13.)   Petitioner acknowledged he

understood and agreed to the terms of the plea agreement. (Id. at 14.)

       The collateral attack waiver provided for three limited exceptions: Petitioner could

file a direct appeal or collateral attack if his sentence (1) exceeded the statutory maximum, or

(2) by variance or upward departure, was higher than the advisory sentencing guideline range

as found by the sentencing court, or (3) was appealed by the government. (Id., doc. no. 252,

p. 5.) None of Petitioner’s claims in Grounds Two or Three falls within the exceptions to the

collateral attack waiver. In Ground Two, Petitioner claims counsel was ineffective for

failing to object to the lack of a specific object to the money laundering count at sentencing.

(Doc. no. 1, p. 3.) In Ground Three, Petitioner claims counsel was ineffective for failing to

object to “double counting” of fact resulting in a two level enhancement in his sentence

calculation. (Id. at 4.) These claims do not allege Petitioner’s sentence exceeded the

statutory maximum or that it was higher than the advisory sentencing guideline range, and

are thus barred by the collateral attack waiver. See Williams, 396 F.3d at 1341-42 (11th Cir.

2005) (precluding claim for ineffective assistance of counsel at sentencing based on valid

sentence-appeal waiver).
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       Thus, the collateral attack waiver bars Petitioner’s claims in Grounds Two and Three

because they do not fall within the narrow exceptions to the waiver. See Brown v. United

States, 256 F. App’x 258, 262 (11th Cir. 2007) (per curiam) (refusing to consider merits of

sentencing argument in § 2255 proceeding based on valid sentence-appeal waiver provision

in plea agreement); United States v. Martin, 549 F. App’x 888, 889-90 (11th Cir. 2013) (per

curiam) (refusing to consider claims of PSI errors based on knowing and voluntary sentence

appeal waiver). Accordingly, the Court finds Petitioner is not entitled to relief on these

grounds. Even if the collateral attack waiver does not bar these grounds, they are meritless

as explained infra.

       C.     Even If Not Barred by the Collateral Attack Waiver, Petitioner’s
              Ineffective Assistance Claims in Grounds Two and Three Are Meritless.

       As discussed supra, the collateral attack waiver bars Petitioner’s ineffective

assistance of counsel claims in Ground Two and Three. However, even if the collateral

attack wavier did not bar these claims, they are meritless and do not afford Petitioner relief.

              1.      Under Strickland v. Washington, Petitioner Bears a Heavy Burden
                      on an Ineffective Assistance of Counsel Claim.

       Ineffective assistance of counsel claims are subject to the two-part test enunciated in

Strickland v. Washington, 466 U.S. 668 (1984). See Massaro v. United States, 538 U.S. 500,

505 (2003). Petitioner must show counsel was constitutionally ineffective under the two

prongs of Strickland by proving defense counsel’s performance was deficient and prejudicial.

Under the first prong, Petitioner must show that “counsel’s representation fell below an

objective standard of reasonableness.” Strickland, 466 U.S. at 688. In this regard, “[a]

petitioner must overcome a strong presumption of competence, and the court must give

significant deference to the attorney’s decisions.” Hagins v. United States, 267 F.3d 1202,
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1204-05 (11th Cir. 2001). Strategic decisions are entitled to a “heavy measure of deference.”

Strickland, 466 U.S. at 691. “Given the strong presumption in favor of competence, the

petitioner’s burden of persuasion – though the presumption is not insurmountable – is a

heavy one.” Fugate v. Head, 261 F.3d 1206, 1217 (11th Cir. 2001) (citation omitted). “The

test has nothing to do with what the best lawyers would have done. Nor is the test even what

most good lawyers would have done. We ask only whether some reasonable lawyer . . .

could have acted, in the circumstances, as defense counsel acted . . . .” Waters v. Thomas, 46

F.3d 1506, 1512 (11th Cir. 1995) (en banc).

       A court, however, “need not determine whether counsel’s performance was deficient

before examining the prejudice suffered by the defendant as a result of the alleged

deficiencies . . . . If it is easier to dispose of an ineffectiveness claim on the ground of lack of

sufficient prejudice, which we expect will often be so, that course should be followed.”

Strickland, 466 U.S. at 697; see Brooks v. Comm’r, Ala. Dep’t of Corr., 719 F.3d 1292, 1301

(11th Cir. 2013). Under the prejudice prong of Strickland, a petitioner must show “there ‘is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different. A reasonable probability is a probability sufficient to

undermine confidence in the outcome.’” Brooks, 719 F.3d at 1300 (quoting Strickland, 466

U.S. at 694). As the Eleventh Circuit has ruled, a petitioner must affirmatively prove

prejudice that would undermine the results of the proceedings because “attorney errors come

in an infinite variety and are as likely to be utterly harmless in a particular case as they are to

be prejudicial. That the errors had some conceivable effect on the outcome of the proceeding

is insufficient to show prejudice.” Butcher v. United States, 368 F.3d 1290, 1293 (11th Cir.

2004) (citations and internal quotations omitted).
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       Moreover, in the context of a guilty plea, “the defendant must show that there is a

reasonable probability that, but for counsel’s errors, he would not have pleaded guilty and

would have insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985); Stephens v.

Sec’y, Fla. Dep’t of Corr., 678 F.3d 1219, 1225 (11th Cir. 2012). In assessing whether a

petitioner has met this standard, the Supreme Court has emphasized the “fundamental

interest in the finality of guilty pleas.” Hill, 474 U.S. at 58. Therefore, Petitioner must show

both counsel’s representation fell below an objective standard of reasonableness, and there is

a reasonable probability that but for counsel’s errors, he would have insisted on going to

trial. Id. at 56-59.

               2.      Petitioner Has Not Shown Entitlement to Relief Based on the Claim
                       in Ground Two.

       In Ground Two, Petitioner argues counsel was ineffective for failing identify a

“specific object” for the money laundering conspiracy at sentencing, resulting in Petitioner’s

sentence being based on trafficking 400 kilograms of cocaine. (Doc. no. 1, pp. 6-7.) This

claim is without merit.

       Petitioner bases his claim on a misinterpretation of a statement made by Judge Hall at

sentencing. In elucidating the Court’s reasons for selecting Petitioner’s specific sentence

within the guideline range, Judge Hall stated, “The organization of which Mr. Mack was a

leader used more than one courier to transport quantities of cocaine that likely exceeded 400

kilograms. . . .” CR 111-270, doc. no. 299, p. 53. Petitioner concludes from this statement

his 240 months sentence was derived from this 400 kilogram amount. (See doc. no. 1, p. 7.)

       However, contrary to his understanding, Petitioner was not sentenced based on 400

kilograms of cocaine. Rather, pursuant to the stipulation in his plea agreement with the


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Government, Petitioner was attributed at least fifteen but not more than fifty kilograms of

cocaine. See CR 111-270, doc. no. 252, p. 6; PSI ¶ 46. Petitioner’s base offense levels for

Count One and Count Three were based on this range of fifteen to fifty kilograms. See PSI ¶

46; see also PSI ¶ 52 (“The base offense level [for Count Three] is the offense level for the

underlying offense [Count One] from which the laundered funds were derived. . . .”). Thus,

contrary to Petitioner’s assertion, Petitioner’s sentence was based on fifteen to fifty

kilograms rather than 400 kilograms. Counsel’s failure to object to Petitioner’s sentence was

neither deficient nor prejudicial under Strickland, as Petitioner previously stipulated in his

plea agreement to being attributed fifteen to fifty kilograms of cocaine for purposes of

sentencing and was sentenced within a guideline range based on that amount.

       Accordingly, Petitioner’s claims in Ground Two are without merit and Petitioner has

not demonstrated his counsel was ineffective.

              3.        Petitioner Has Not Shown Entitlement to Relief Based on the Claim
                        in Ground Three.

       In Ground Three, Petitioner argues counsel was ineffective for “failing to object to the

double counting of the same facts for the same facts for two level [sentencing]

enhancement.” (Doc. no. 1, p. 4.) This claim is without merit.

       Petitioner’s claim is meritless because it is contradicted by the record; Petitioner’s

counsel did in fact object to “double counting.” Petitioner’s counsel filed the following

objection to the PSI:

       The defendant asserts that the enhancement pursuant to USSC §
       2D1.1(b)(14)(E), criminal livelihood, is double counting. The defendant’s
       sentence has been enhanced, for this conduct as a result of the defendant
       pleading guilty to Count 3 of the indictment, conspiracy to commit money
       laundering. Therefore, this enhancement should not be applied.


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PSI Addendum ¶ 1. Petitioner’s counsel then raised and argued this same objection at

sentencing. (CR 111-270, doc. no. 299, pp. 4-11.) Only after extended argument and

consulting with Petitioner did counsel withdraw the objection. (Id. at 11.)

       The withdrawal was warranted because it was clear from the hearing that the

objection was not well founded. See id. at 9 (“THE COURT: [Under] the two-point

enhancement for criminal livelihood, . . . you're not counting the same dollars twice. You're

just simply saying on criminal livelihood this defendant was deriving his livelihood for this

period of time from this drug conspiracy activity.”). Therefore, because Petitioner’s counsel

actually did object to “double counting” at sentencing and correctly decided to withdraw it,

Petitioner’s claim of ineffective assistance is contrary to fact and meritless.

       D.      Petitioner Is Not Entitled to Relief on His Ground One Ineffective
               Assistance Claim.

       Petitioner claims in Ground One that, prior to entry of his guilty plea, his attorney

advised him to plead guilty to the money laundering conspiracy offense despite the charge

lacking a “specific object” and then failed to challenge this faulty charge at the plea hearing.

(Doc. no. 1, p. 3.) Although he does not directly claim his plea was coerced or involuntary,

Petitioner does challenge counsel’s advice to “plea guilty to a charge with no specific object,

therefore, depriving Petitioner of his right to loss of liberty without first being afforded due

process.” (Doc. no. 1, p. 3.) Liberally construed, this assertion, if found to have merit,

would cast doubt not only on the validity of the appeal and collateral attack waiver, but also

the knowing and voluntary nature of the entirety of the guilty plea.

       A defendant cannot waive a claim alleging ineffective assistance during plea

negotiations. Vaca-Ortiz, 320 F. Supp. 2d at 1365-67; see also Williams v. United States,


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396 F.3d 1340, 1341-42 (11th Cir. 2005) (“[T]here may be a distinction between a § 2255

claim of ineffective assistance related to the validity of a plea in entering or negotiating the

plea versus a claim of ineffectiveness at sentencing or a claim challenging the validity of the

plea or agreement.”). This is because ineffective assistance of counsel in entering the plea

“would require a finding that the plea was not entered knowingly and voluntarily, which

would in turn mean that a court could not enforce a waiver contained within that plea

agreement.” Vaca-Ortiz, 320 F. Supp.2d at 1365 (citing Bushert, 997 F.2d at 1350-51).

However, as discussed infra, the Court determines Petitioner’s ineffective assistance claim in

Ground One fails on the merits.

              1.      Petitioner Has Not Shown Entitlement to Relief Based on the Claim
                      Counsel Advised Him to Plead Guilty to and Failed to Challenge
                      His Conspiracy Charge for Lacking a “Specific Object.”

       Petitioner argues counsel was ineffective for failing to challenge the lack of a

“specific object” for the charged conspiracy in Count Three of the indictment and advising

him to plead guilty despite this defect. (Doc. no. 1, p. 3, 6.) It appears that by “lack of

specific object,” Petitioner means the charge failed to specify the amount of money

laundered. (See id. at 6 (“Such notice would have given the Petitioner a clear indication as to

what specific amount of money he used or was in concert with others charged in the

conspiracy to have laundered.”).) Petitioner’s claim is meritless.

       An indictment need not allege every particular of an offense to be constitutionally

valid. See United States v. Cusmano, 659 F.2d 714, 720 (6th Cir. 1981) (“The particularity

of time, place, circumstances, causes, etc., in stating the manner and means of effecting the

object of a conspiracy . . . is not essential to an indictment.”) (quoting Glasser v. United

States, 315 U.S. 60, 66 (1942)). Rather, an indictment is “legally sufficient if it: (1) presents
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the essential elements of the charged offense, (2) notifies the accused of the charges to be

defended against, and (3) enables the accused to rely upon a judgment under the indictment

as a bar against double jeopardy for any subsequent prosecution for the same offense.”

United States v. Schmitz, 634 F.3d 1247, 1259 (11th Cir. 2011) (quotations omitted).

Furthermore, “[i]f an indictment specifically refers to the statute on which the charge was

based, the reference to the statutory language adequately informs the defendant of the

charge.” United States v. Wayerski, 624 F.3d 1342, 1349-50 (11th Cir. 2010) (quotations

omitted).

       Here, Count Three of the indictment meets all of the requirements of a valid

indictment. Under 18 U.S.C. § 1956, conspiracy to launder money contains the following

elements:

       (1) the defendant conducted or attempted to conduct a financial transaction;
       (2) the transaction involved the proceeds of an unlawful activity; (3) the
       defendant knew the proceeds were from some form of illegal activity; and (4)
       either (a) the defendant engaged in the financial transaction with the intent to
       promote the carrying on of a specified unlawful activity, or (b) the defendant
       engaged in the financial transaction knowing that the transaction was designed
       in whole or in part to conceal or disguise the nature, location, source,
       ownership, or the control of the proceeds.

United States v. Stevenson, –F. App’x–, No. 15-11677, 2016 WL 5899170, at *1 (11th Cir.

Oct. 11, 2016) (citing 18 U.S.C. § 1956(a)(1)(A)(i), (B)(i)).

       Count Three of the indictment against the Petitioner reads:

       Beginning in a date unknown but at least as early as January 1, 2006, and
       continuing up to and including the date of this indictment, in the Southern
       District of Georgia and elsewhere, the defendants LATRON REDOLOS
       WARE aka "TWEET" aka "BIRDMAN" [and] ABDUL JABBAR MACK aka
       "MACK" aka "DUDE MACK" aka "DUL MACK" aided and abetted by each
       other and others both known and unknown to the grand jury, did knowingly
       combine, conspire, and agree with each other and with other persons known
       and unknown to the Grand Jury, to commit offenses against the United States,
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       to wit, to violate of Title 18, United States Code, Section 1956(a)(1)(B)(i). It
       was a part and object of the conspiracy that Defendants
       . . . aided and abetted by each other and others both known and unknown to
       the grand jury, would knowingly conduct and attempt to conduct financial
       transactions affecting interstate commerce, which transactions involved the
       proceeds of specified unlawful activity, to wit, conspiracy to possess with
       intent to distribute and to distribute controlled substances and possession with
       intent to distribute controlled substances, knowing that the transactions were
       designed in whole or in part to conceal and disguise the nature, location,
       source, ownership, and control of the proceeds of specified unlawful activity,
       and that while conducting and attempting to conduct such financial
       transactions, knowing that the property involved in the financial transactions
       represented the proceeds of some form of unlawful activity, in violation of
       Title 18, United States Code, Section 1956(a)(1)(B)(i).

CR 111-270, doc. no. 186, pp. 3-4 (emphasis added).

       Despite failing to allege a specific date or a specific amount of money laundered,

Count Three of the indictment presents all the essential elements of the offense and refers

specifically to the money laundering statute. It gave Petitioner ample notification of the

charges he had to defend against, and his conviction under the indictment serves as a bar to

double jeopardy. Therefore, Count Three of the indictment suffered no defect and was

legally valid, despite lacking a “specific object.”

       Accordingly, counsel’s failure to challenge the indictment, and advice to plead guilty,

was not deficient and did not “fall below an objective standard of reasonableness.”

Strickland, 466 U.S. at 688.

       Furthermore, Petitioner never avers but for counsel’s advice, he would have

proceeded to trial. (Doc. no. 1.) Instead, Petitioner merely argues he was “deprived . . . of

his right to proper notice of his illegal activities” by his counsel’s failure. (Id. at 6.) Thus,

because Petitioner has not argued there is a reasonable probability that but for counsel’s

alleged errors he would not have pleaded guilty and would have gone to trial, he has not


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shown ineffective assistance. See Hill, 474 U.S. at 59. Therefore, Petitioner fails to carry his

heavy burden to show prejudice under the second prong of Strickland, and his ineffective

assistance of counsel claim in Ground One does not afford relief.

              2.      Petitioner’s Guilty Plea was Knowingly and Voluntarily Entered.

       Having determined Petitioner did not receive constitutionally ineffective assistance of

counsel during plea negotiations, the Court will address any implication derived from the

§ 2255 motion that Petitioner’s guilty plea was otherwise not knowingly and voluntarily

entered.

                      a.     Standard for Enforceability of Guilty Pleas.

       Once a guilty plea becomes final, unless the record demonstrates the sentencing court

lacked the power to enter the conviction or impose the sentence, a petitioner may only

challenge the knowing, voluntary nature of the plea. United States v. Broce, 488 U.S. 563,

569 (1989). In conducting its analysis, the Court starts with the proposition a trial court may

not accept a guilty plea without an affirmative showing on the record that the plea was

intelligent and voluntary. Boykin v. Alabama, 395 U.S. 238, 242-43 (1969). The Eleventh

Circuit has described the requirements for a valid guilty plea as follows: “The Fourteenth

Amendment Due Process Clause requires that a plea of guilty be knowingly and voluntarily

entered because it involves a waiver of a number of the defendant’s constitutional rights. A

plea of guilty cannot support a judgment of guilt unless it was voluntary in a constitutional

sense.” United States v. Brown, 117 F.3d 471, 476 (11th Cir. 1997). A guilty plea may be

involuntary in a constitutional sense if a defendant is coerced into his plea, if a defendant

does not understand the nature of the constitutional protections he is waiving, or “if a

defendant has such an incomplete understanding of the charge that his plea cannot stand as
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an intelligent admission of guilt.” Id. Thus, a defendant must receive “real notice of the true

nature of the charged crime.” Id.

       The Eleventh Circuit has further explained that, for a guilty plea to be made

knowingly and voluntarily, the court accepting the guilty plea must “specifically address

three ‘core principles,’ ensuring that a defendant (1) enters his guilty plea free from coercion,

(2) understands the nature of the charges, and (3) understands the consequences of his plea.”

United States v. Moriarty, 429 F.3d 1012, 1019 (11th Cir. 2005) (per curiam) (citations

omitted). In addition, “a defendant who seeks reversal of his conviction after a guilty plea . .

. must show a reasonable probability that, but for the error [under Rule 11 of the court

accepting the guilty plea], he would not have entered the plea.” Id. at 1020 (quoting United

States v. Dominguez Benitez, 542 U.S. 74, 83 (2004)).

                      b.     Judge Hall’s Colloquy with Petitioner Satisfied the Three
                             Core Principles Required for Acceptance of a Guilty Plea.

       Judge Hall informed Petitioner in clear terms of the charges to which he was pleading

guilty, as well as the penalties that might be imposed in the event of Petitioner’s conviction,

and Petitioner testified he understood the charges and penalties. (CR 111-270, doc. no. 302,

pp. 4-6, 14-16.) Petitioner also admitted to the facts presented by the government as the

factual basis for the pleas and told Judge Hall he wanted to plead guilty. (Id. at 32-34.)

Judge Hall provided a detailed explanation of the rights Petitioner would forfeit by pleading

guilty, and Petitioner affirmed he understood his decision to plead guilty would result in a

waiver of these rights. (Id. at 9-12.) Petitioner testified no one had made him any promises

other than those contained in the plea agreement to get him to plead guilty, and his decision

to plead guilty was not the result of force, pressure, threats or promises. (Id. at 3, 18.)


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Petitioner also testified that he had reviewed his case with counsel and was satisfied with the

help he had received from counsel. (Id. at 7, 9.) Thus, Judge Hall’s thorough plea colloquy

ensured Petitioner understood both the nature of the charges and the consequences of his

guilty plea, and that Petitioner was not coerced into pleading guilty. See Moriarty, 429 F.3d

at 1019. Petitioner has not argued, let alone shown a reasonable probability that but for any

alleged error at the Rule 11 proceeding he would not have entered his guilty pleas. See

Dominguez Benitez, 542 U.S. at 83.

       As such, Petitioner will not now be heard to claim his guilty plea was not knowingly

and voluntarily entered. Any such assertions are contradicted by the record of the Rule 11

hearing and Petitioner’s sworn testimony at that proceeding. See United States v. Stitzer,

785 F.2d 1506, 1514 n.4 (11th Cir. 1986) ( “if the Rule 11 plea-taking procedure is careful

and detailed, the defendant will not later be heard to contend that he swore falsely”).

       E.      Petitioner Is Not Entitled to Relief on His Ground Four Ineffective
               Assistance Claim.

       Despite being barred from appeal by a valid collateral attack waiver, Petitioner,

through counsel, filed an appeal to the Eleventh Circuit, where his conviction was affirmed.

See CR 111-270, doc. no. 286; Mack, 575 F. App’x 869. In Ground Four of his § 2255

motion, Petitioner now argues his appellate counsel was ineffective for failing to make

appellate issues of Grounds One, Two, and Three, discussed supra. (Doc. no. 1, p. 4.) This

claim is meritless and does not afford Petitioner relief.

       Appellate counsel is not ineffective under Strickland for failing to raise meritless

issues on appeal. See Chandler v. Moore, 240 F.3d 907, 917 (11th Cir.2001) (“[Petitioner’s]

appellate counsel was not ineffective for failing to raise a nonmeritorious issue.”); Bolender


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v. Singletary, 16 F.3d 1547, 1573 (11th Cir.1994) (“it is axiomatic that the failure to raise

nonmeritorious issues does not constitute ineffective assistance”); United States v. Winfield,

960 F.2d 970, 974 (11th Cir.1992) (“a lawyer’s failure to preserve a meritless issue plainly

cannot prejudice a client”).

        Here, Petitioner’s counsel filed an Anders brief and requested withdrawal from the

case. The Eleventh Circuit, after conducting an independent review of the entire record,

found no arguable issues of merit and affirmed Petitioner’s sentence and convictions. See

United States v. Mack, 575 F. App’x 869 (11th Cir. 2014). Thus, appellate counsel had no

meritorious issues he could have raised on appeal and Petitioner’s claim of ineffective

assistance is meritless.

        Accordingly, Petitioner has not demonstrated entitlement to relief on any claim in his

motion and it should be denied.

III.    CONCLUSION

        For the reasons set forth above, the Court REPORTS and RECOMMENDS the

§ 2255 motion be DENIED without an evidentiary hearing, this civil action be CLOSED,

and a final judgment be ENTERED in favor of Respondent.

        SO REPORTED and RECOMMENDED this 11th day of January, 2017, at Augusta,

Georgia.




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